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AO245B (Rev 12/03)(VAED rev. 2) Sheet I - Judgment in a Criminal Case

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                                          UNITED STATES DISTRICT COURT                                 £3

                                                    Eastern District of Virginia                                  OCT I 2 2011         hy
                                                            Richmond Division
                                                                                                         CLERK. U.S. DISTRICT COURT
                                                                                                       -V      RICHMOND. VA
UNITED STATES OF AMERICA

                         v.                                               Case Number:       3:11 CR00021 -001

BARRY. W. WOODBURY                                                        USM Number:        78279-083
                                                                          Defendant's Attorney:      Matthew T. Paulk, Esq.
Defendant.


                                           JUDGMENT IN A CRIMINAL CASE

    The defendant was found guilty on Count One of the Indictment after a plea of not guilty.
   Accordingly, the defendant is adjudged guilty of the following counts involving the indicated offenses.


Title and Section                    Nature of Offense                              Offense Class           Offense Ended        Count
I8:922(g)(l);l8:924(d)
                                     POSSESSION OP FIREARM/AMMUNITION BY            Felony              6/11/09                  One
and28;2-16l(c)                       FELON;     FORFEITURE       ALLEGATION    OP
                                     RELATED PROPERTY




   As pronounced on October 11th, 2011, the defendant is sentenced as provided in pages 2 through 6 of this Judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

   It is ORDERED that the defendant shall notify the Uniled Stales Attorney for this district within 30 days of any change
of name, residence, or mailing address until all lines, restitution, cosis, and special assessments imposed by this judgment
are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material
changes in economic circumstances.


                                                                              Date of Imposition of Judgment: 10/11/1



                                                                                       John A. Gibney.
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                                                                                                            £±-
                                                                                      United States District Judge


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